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                     EXHIBIT B
Case 2:16-cv-11484-GCS-APP ECF No. 61-3, PageID.1876 Filed 09/19/17 Page 2 of 24



     ANDREW W. STUMPFF                                                                                            February 09, 2017
     COHEN vs JAFFE                                                                                                             1-4
                                                                   Page 1                                                            Page 3
      1                   UNITED STATES DISTRICT COURT                       1                  TABLE      OF CONTENTS
      2                   EASTERN DISTRICT OF MICHIGAN                       2
      3
                                                                             3    WITNESS
           NEAL COHEN, DARREN CHAFFEE,           )
      4    and SSL ASSETS, LLC,                  )                           4    Andrew W. Stumpff
                                                 )                           5
      5                Plaintiffs,               )
                                                                                  EXAMINATION
                                                 )       Case No. 16-11484
      6                vs.                   )
                                             )                                    By Mr. Hengeveld                                   Page 5
      7    JAFFE, RAITT, HEUER & WEISS, P.C.,)              Honorable
                                                                             7
           JEFFREY M. WEISS, LEE B. KELLERT )            George C. Steeh
      8    and DEBORAH L. BAUGHMAN,          )                               8
                                             )           Magistrate Judge    9
      9               Defendants,            )           Anthony P. Patti
                                             )
      10   JAFFE, RAITT, HEUER & WEISS, P.C. )                               10
                                             )                               11
      11              Third Party Plaintiff, )
                                                                             12
                                             )
      12              vs.                    )                               13
                                             )                               14
      13   COBE CAPITAL, LLC,                )                               15
                                             )
      14              Third Party Defendant. )                               16
      15                                                                     17
      16               THE DEPOSITION OF ANDREW W. STUMPFF                   18
      17
                                                                             19
      18   DEPONENT:         Andrew W. Stumpff
      19   DATE:             Thursday, February 9, 2017                      20
      20   TIME:             8:02 a.m.                                       21
      21   LOCATION:         Plunkett Cooney
                                                                             22
                             150 West Jefferson, Suite 800
      22                     Detroit, Michigan 48226                         23
      23   REPORTER:         Kelli A. Murphy, CSR-7768, B.S.                 24
      24
                                                                             25
      25

                                                                    Page 2                                                           Page 4
       1    APPEARANCES:                                                      1                         EXHIBITS
       2                                                                      2
       3           JEFFREY J. GOULDER, ESQ.              (AZ010258)           3   STUMPFF
                   Stinson Leonard Street LLP                                     Deposition                                          Page
       4           1850 North Central Avenue, Suite 2100                      4   Exhibit                 Description                Marked
                   Phoenix, Arizona 85004-4584                                    5555555             .6525555..5555....     55555   5

       5           602.279.1600
                   jeffrey.goulder@stinson.com
                                                                                  Exhibit 55         07/05/16 Letter/Attachment          9
       6
                                                                              6                         (P0037273-37279)
                          Appearing on behalf of Plaintiffs.
                                                                              7
       7
                                                                                  Exhibit 56           Multi-Page Document            17
       a
                   JEFFREY S. HENGEVELD, ESQ. (P66029)                        8
       9           Plunkett Cooney                                            9   Exhibit 57              Expert Report of             80

                   38505 Woodward Avenue, Suite 2000                                                      Jordan Schreier
      10           Bloomfield Hills, Michigan              48304             10
                   248.594.8202                                              11
      11           jhengeveld@plunkettcooney.com                             12
      12                  Appearing on behalf of Defendants.                 13
      13                                                                     14
      14                                                                     15
      15                                                                     16
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     ANDREW W. STUMPFF                                                                                                 February 09, 2017
     COHEN vs JAFFE                                                                                                                  5-8
                                                                      Page 5                                                                  Page 7
      1                          Detroit, Michigan                             1      purchase agreement.
      2                         Thursday, February 9, 2017                     2       All right. Did that have anything to do with controlled
      3                         About 8:02 a.m.                                3      group liability?
      4                                                                        4 A     No. It didn't have anything to do with controlled group
      5                                                                        5      liability. There's a tangential relation between the
      6              THE REPORTER: Raise your right hand, please.              6      ideas of controlled group liability, and what was at
      7              MR. STUMPFF: (Witness complies.)                          7      issue there, because, as I recall, this question went to
      8              THE REPORTER: Do you swear or affirm the                  8      past service, and -- under the definition of a plan --
      9      testimony you're about to give is the truth, the whole            9      it was serviced with your, quote, employer.
      10     truth, and nothing but the truth?                                 10             And part of the issue was around ambiguity and
      11             MR. STUMPFF: I do.                                        11     vagueness around the definition of "employer," and that,
      12             THE REPORTER: Thank you.                                  12      I think, included a controlled group concept, at the
      13                    EXAMINATION                                        13     time, but it wasn't really central to the case.
      14 BY MR. HENGEVELD:                                                     14 Q     What specific issue were you retained to give opinions
      15 Q    Can you please state your full name?                             15     about in that case?
      16 A    Sure. Andrew Wayne Stumpff.                                      16 A    Whether the language in the transaction agreement
      17 Q     Mr. Stumpff, my name is Jeff Hengeveld, and I represent 17             required that the employees       who became employees of
      18     the defendants in this case. Have you given a                     18     the acquiror — were entitled to receive past service
      19     deposition before?                                                19     credit for the acquiror's pension plan for their service
      20 A    Yes, I have.                                                     20      prior to the acquisition.
      21 Q     How many times have you been deposed?                           21 Q     Were you engaged to critique the drafting of that
      22 A    Just once.                                                       22     language by — sorry, strike that.
      23 Q     Okay. In what case was that deposition given?                   23             Were you engaged to critique the attorney's
      24 A    The — I can't remember the full name of the case, but            24      drafting of that language, or were you engaged to opine
      25     it was a case in which I was an expert, and the                   25     on the language, itself?

                                                                      Page 6                                                                  Page 8
      1      defendant's party's name was Liberty Insurance.                   1 A     Urn, I think that there was an element of both, as I
      2 Q     Okay. And that's the Moyle versus --                             2      recall. You'll have to forgive me. I, perhaps, should
      3 A     Yes.                                                             3      have reviewed that.
      4 Q     — Liberty case?                                                  4              But my recollection is that there were
      5 A     Yes.                                                             5      elements of both, and that part of the issue was that
      6 Q     When did you give that deposition?                               6      there was a, sort of, a typical standard for drafting
      7 A     I'm going to guess four years ago, roughly.                      7      provisions relating to providing service, and this
      8 Q     And that case is currently pending?                              8      departed from that.
      9 A     No. It was decided on summary judgment, again, probably          9              And that, based on that departure, the
      10     three or four years ago.                                          10     language should be read to provide past service. That's
      11 Q    Okay. Was that the only case in which you've previously          11      my best recollection of what it was.
      12     served as an expert?                                              12       There were no claims against a lawyer —
      13 A    Yes. I've been consulted as a potential expert in other          13 A     No.
      14     cases, but that's the only case I think that I've ever            14       -- in that case?
      15     been retained as an expert, actually retained.                    15             Aside from sitting for a deposition in that
      16 Q    Can you tell me what that Moyle versus Liberty case was          16     case, did you have any other involvement?
      17     about?                                                            17 A    Sitting for a deposition, and then, I think, at some
      18 A    Yes. That also involved a merger acquisition context,            18      point, I, sort of, discussed the case with the lawyers,
      19     and I was an expert for the plaintiffs, and the issue             19     and that's it. There was nothing further. I did not do
      20     had to do with whether past service credit should be              20      a report. The case did not go to trial.
      21     granted to employees of the company that was acquired,            21       Again, the case was dismissed by summary disposition --
      22     and the acquiror's plans for service prior to the                 22 A    Yes.
      23     acquisition.                                                      23       -- to the best of your recollection?
      24             And it was a question of the drafting of the              24 A    Yes.
      25     transaction document, which, I believe, was a stock               25       Did you say that you have served in some consulting role



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     ANDREW W. STUMPFF                                                                                                February 09, 2017
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                                                                     Page 9                                                        Page 11
      1      as an expert?                                                    1      think Stinson got a recommendation of our firm,
      2 A     No. What I meant to say is I was consulted about the            2      generally -- and possibly including my name, but
      3      possibility of being an expert several other times, but          3      possibly including other names — from a lawyer in
      4      I never -- other than that case -- proceeded to be               4      Kansas City, and then, ultimately, sort of, narrowed in
      5      retained as an expert.                                           5      on me.
      6 Q     Okay. When were you first retained by the Stinson law           6              MR. GOULDER: Let's go off the record for just
      7      firm, in this case?                                              7      one second.
      8 A     Well, to the best of my recollection, it was late spring        8              MR. HENGEVELD: Okay.
      9      of last year, or, perhaps, early summer. I'd say                 9              MR. GOULDER: Let me just step out with
     10      sometime between April and June, but that's just to the          10     Andrew.
     11       best of my recollection.                                        11             MR. HENGEVELD: Sure.
     12              MR. HENGEVELD: I'm handing you what I've                 12             (Momentarily off the record.)
     13       marked as Exhibit No. 55.                                       13 BY MR. HENGEVELD:
     14              (Marked for identification:                              14 Q     How many telephone conversations did you have with
     15               Deposition Exhibit No. 55.)                             15     Jeff Goulder, or anyone else from the Stinson law firm,
     16              THE WITNESS: Sure. (Witness reviewing                    16     prior to July of 2016?
     17      document.)                                                       17 A    I'm going to guess two.
     18 BY MR. HENGEVELD:                                                     18 Q     Do you know how long those telephone conversations
     19 Q      Exhibit 55 is a series of documents that include — on          19     lasted?
     20      the first two pages — a letter to you, from                      20 A    About 15 to 30 minutes. I'm guessing.
     21       Jeff Goulder, on July 5, 2016.                                  21 Q     Each?
     22 A      Um-hmm.                                                        22 A    Yeah.
     23 Q      It looks like it's an engagement letter.                       23 Q     Did you agree to serve as an expert after the first
     24              Is that what it looks like to you?                       24     telephone conversation?
     25 A     Yes, it does.                                                   25 A     I don't remember. My recollection is likely not.

                                                             Page 10                                                                         Page 12
      1 Q     Were you contacted by either Jeff Goulder, or another           1 Q     Okay. Why not?
      2      member of the Stinson law firm, prior to July of 2016?           2 A     After the first conversation, I can't really accept any
      3 A     Yes. This would have been after several conversations,          3      representation, of any sort, without checking internally
      4      conflict checks, and so forth.                                   4      for various things.
      5 Q And so you think you were first contacted in early                  5 Q     Notably a conflict check?
      6   spring of 2016?                                                     6 A     Notably, yes.
      7 A     No, not -- not early spring. As I said, sometime                7 Q     Did you form any conclusions about Jaffe, Raitt's -- or
      8      between probably April and June, to the best of my               8      the lawyer at Jaffe, Raitt's actions after that first
      9      recollection. If I check my records, I could give you a          9      telephone conversation?
      10      better sense, but that's my best recollection.                  10             MR. GOULDER: At any time after, including
      11 Q     And what records would you have to check to determine 11              through today?
      12     that?                                                            12             THE WITNESS: Um-hmm.
      13 A    E-mails, internal e-mails.                                      13             MR. HENGEVELD: No. I want to be more narrow.
      14 Q     Did you know Jeff Goulder before --                            14 BY MR. HENGEVELD:
      15 A     No.                                                            15 Q     After the initial telephone discussion with
      16 Q     -- he reached out to retain you?                               16     Jeff Goulder, did you form any conclusions about the
      17 A     No.                                                            17     conduct of the defendants in this case?
      18 Q     Did you know anyone at the Stinson law firm, prior to          18 A     No.
      19      being retained, in this case, as an expert?                     19 Q     What about after the — immediately after the second
     20 A     I did. I know one of their former partners fairly well,         20     conversation with Jeff Goulder, did you form any
      21     a man named Tom Brous. I knew him for many years.                21     opinions about the conduct of the defendants in this
     22 Q      Did Tom Brous reach out to you, at all, regarding this         22     case?
     23      case?                                                            23 A     No.
     24 A      No. I'm not entirely certain how Stinson came to us.           24 Q     When did you first form opinions or conclusions about
     25       My recollection is that Stinson first contacted -- I            25     the conduct of the defendants in this case?



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     ANDREW W. STU PFF                                                                                             February 09, 2017
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                                                                Page 13                                                            Page 15
      1 A     I first formed a conclusion after reviewing the              1 Q     And did your conversation with him reveal that he was
      2      documents that were sent to me by Stinson in connection       2      familiar with the facts, and how that differed?
      3      with the case.                                                3              MR. GOULDER: Let me just caution you on that,
      4 Q     You indicated that you had two telephone conversations       4      Andrew. Under the rules, Mr. Hengeveld is entitled to
      5      with Jeff Goulder prior to July of 2016?                      5      know what facts my firm conveyed to you
      6 A    To the best of my recollection.                               6              THE WITNESS: Um-hmm.
      7 Q     To the best of your recollection?                            7              MR. GOULDER: -- and what assumptions we asked
      8 A    Yes.                                                          8      you to make
      9 Q     Did you have any conversations with anyone else at the       9              THE WITNESS: Um-hmm.
      10     Stinson law firm, regarding this case, prior to July of       10             MR. GOULDER: -- and what your billing
      11     2016?                                                         11     arrangement is with us.
      12 A    I don't believe so.                                          12             THE WITNESS: Right.
      13 Q     Have you ever spoken to any other attorney, regarding       13             MR. GOULDER: So, I believe, Mr. Hengeveld's
      14     this case, at the Stinson --                                  14     question goes to what facts Mr. McKnight conveyed to
      15 A    Yes.                                                         15      you, and that's a fair question, but to the extent you
      16 Q    --law firm --                                                16      had conversations that went beyond that, please let us
      17 A    Yes.                                                         17      know, and don't answer.
      18 Q    -- other than Jeff Goulder?                                  18             THE WITNESS: Okay. I think —
      19 A    Yes.                                                         19             Well, why don't you repeat your previous
      20 Q     And who was that?                                           20     question?
      21 A     Michael Vincent and Phil McKnight.                          21             MR. HENGEVELD: Sure. Can you read that back?
      22 Q     In total -- so this being including the two                 22             THE REPORTER: Yes.
      23     conversations prior to July 2016 — in total, how many         23             (Whereupon the question was read
      24     conversations did you have with Jeff Goulder regarding        24              back by the court reporter as follows:
      25     this case?                                                    25          QUESTION: And did your conversation with him

                                                                 Page 14                                                                 Page 16
      1 A     I'm sorry. Cumulatively to date?                             1           reveal that he was familiar with the facts, and
      2 Q     Sure.                                                        2           how that differed?)
      3 A    Perhaps, 12. On that order of magnitude.                      3              THE WITNESS: My conversation with him did not
      4 Q     Cumulatively, how many conversations have you had with       4      produce any facts different than what I'd already been
      5      Michael Vincent regarding this case?                          5      provided by Stinson.
      6 A     Perhaps 12, a dozen. That's subject to a large margin        6 BY MR. HENGEVELD:
      7      of error.                                                     7 Q     Okay. Are you relying upon the facts provided by, or
      8 Q     And were those conversations exclusively with                8      discussed with — strike that.
      9      Michael Vincent, or are you including conversations           9              Are you relying upon the facts provided to
      10     where Jeff Goulder might be a part of those                   10      you, if any, by Mr. McKnight for the opinions that you
      11     conversations?                                                11      reached in this case?
      12 A    Okay. So to break it down, these are -- it's all order       12 A     No.
      13     of magnitude, so probably the numbers are all the same,       13 Q     During any of the conversations with Jeff Goulder and
      14     since they're all the same order of magnitude -- but,         14      Michael Vincent, were you asked to make any assumptions
      15     let's say, a dozen just with Michael; three or four with      15      about the facts, in this case, or assumptions, in
      16     both of them; and, perhaps, six with just Jeff.               16      general, about this case?
      17 Q     And how many conversations did you have with                17 A     No.
      18     Phil McKnight?                                                18 Q     Have you made any assumptions in formulating your
      19 A    One.                                                         19      opinions in this case?
      20 Q     What was the purpose of that conversation?                  20 A     Only where I expressly say the word "assuming."
      21 A    To -- I realized -- I was under the understanding that       21 Q     Okay.
      22     he was also familiar with the facts of this case, and I       22 A     Yeah. Only where I expressly say the word "assuming."
      23     wanted to get a sense of whether his understanding of         23 Q     And that's in your expert --
      24     the facts, and what had happened, was any different from      24 A     In the --
      25     mine.                                                         25 Q -- report --



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     ANDREW W. STUMPFF                                                                                                February 09, 2017
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                                                                    Page 17                                                           Page 19
      1 A    -- report, yes.                                                  1      specific arrangements with senior executives and stock
      2 Q     -- which we'll look at in a minute?                             2      options and employment agreements.
      3 A    Sure.                                                            3 Q     Thank you.
      4            MR. HENGEVELD: I'm handing you what I've                   4 A     Um-hmm.
      5      marked as Exhibit 56.                                            5 Q     Going back to Exhibit 56, in paragraph 2, does
      6            (Marked for identification:                                6      paragraph 2 give us a, kind of, summary of your practice
      7                Deposition Exhibit No. 56.)                            7      since you graduated from law school?
      8            THE WITNESS: Thank you.                                    8 A    Yes.
      9            MR. GOULDER: Thank you.                                    9 Q     What was the reason that you took the three-year hiatus
      10 BY MR. HENGEVELD:                                                    10     from practicing law in 2004 to 2006, during which you
      11 Q     I guess, what is Exhibit 56?                                   11     studied graduate computational biochemistry?
      12 A    My expert report.                                               12 A    That was a combination of a family change. My wife, at
      13 Q    Okay. Looking at the first page of Exhibit 56, under            13     the time, very much wanted to move back to Michigan and
      14     the section "Qualifications," in paragraph 1:                    14     I agreed. It was a combination of that, and being a
      15               Does paragraph 1 explain what your current             15     little burned out from the transactional practice of
      16     employment is?                                                   16     law, and wanting to try something different.
      17 A    It does, except that the University of Michigan is              17 Q     Did you obtain your degree in computational --
      18     not -- this year -- offering this course, so I'm not             18 A    I did not.
      19     teaching this particular academic year.                          19 Q     — biochemistry?
      20               And, also, the last sentence has changed since         20 A    I did not.
      21      I wrote this. I have now become a nonequity shareholder 21 Q             In paragraph 3, the last sentence -- sorry, back to
      22     of Butzel Long, instead of "Of Counsel."                         22     Exhibit 56, so it's clear, for the record -- in
      23 Q     Currently, what percentage of your time is spent               23     paragraph 3, under "Qualifications," the last sentence
      24      practicing law versus spent in academia?                        24     states:
      25 A    About 50 percent for each.                                      25             I estimate that during the course of my

                                                              Page 18                                                                     Page 20
      1 Q     For how long has that been true that you've been                1      career, I've been professionally involved in
      2      50 percent practicing and 50 percent in academia?                2      approximately 100 completed acquisitions valued at
      3 A     About eight years.                                              3      at least $10 million each.
      4 Q     Of the 50 percent of time you spent actually practicing         4              Do you see that?
      5      law, is that practicing exclusively in ERISA law?                5 A     Yes.
      6 A     No. It's ERISA and employee benefits -- or, I'm                 6 Q     How many, if any, of those acquisitions involved clients
      7      sorry — executive compensation.                                  7      coming to you to ask to have the acquisitions structured
      8            So can I just clarify that?                                8      in such a way to avoid controlled group liability?
      9 Q     Sure.                                                           9 A     This is going to be an estimate -- because one would
      10 A    ERISA can be used as a synonym when you're describing 10                have to enumerate all of these transactions going back
      11     practice types as employee benefits.                             11     30 years -- but I am going to estimate, perhaps, a third
      12             So when answering your question, when you                12      of them, say 30, involved situations where that was an
      13     asked if I practice exclusively in ERISA, I'm                    13      important issue. I -- let's modify that to say 20 to
      14     interpreting that to mean employee benefits, and I'm             14      30.
      15     answering that I spend it practicing employee benefits           15 Q     So to be clear, have you had clients come to you with
      16     and executive compensation.                                      16      about 20 or 30 acquisitions where they have asked you to
      17 Q    Can you briefly summarize, then, what you mean by the           17      structure an acquisition of a company that had a
      18     differences in the employee benefits side versus the             18      multiemployer pension plan in such a way that the
      19     executive compensation side?                                     19      acquiror would not have controlled group liability
      20 A    Sure. Employee benefits tends -- and this is all a              20      attached to any of the other entities that the acquiror
      21      matter of how law firms organize themselves in the US —         21      might also own?
      22     employee benefits tends to refer to more broad-based             22 A    So I have to clarify two things. It's just struck me,
      23     programs like retirement plans and health insurance              23      right now, that you're specifically asking about
      24      plans.                                                          24      multiemployer plan liabilities, as opposed to Title IV
      25               Executive compensation tends to refer to               25      liability, generally, under ERISA.



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     ANDREW W. STUMPFF                                                                                               February 09, 2017
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                                                                  Page 21                                                                 Page 23
      1             The 20 to 30 relates to Title IV liability,             1      been unaware of at the time?
      2      generally, including multiemployer plans, but also             2 Q     That's it. That's -- yeah, that's —
      3      single-employer plans. For multiemployer plans, that's         3              MR. GOULDER: Answer that one.
      4      less common, so it's probably more like 10. So I want          4              THE WITNESS: No.
      5      to clarify that.                                               5 BY MR. HENGEVELD:
      6 Q     Thank you.                                                    6       That's the question that I would like for you to answer.
      7 A     The second thing, in response to your most recent             7 A     Okay. No.
      8      question, you've asked how many transactions have              8 Q     Going back to Exhibit No. 56, in Section -- I'm
      9      clients specifically asked that we structure the               9      referring you to Section II, "Documents Reviewed in
      10     transaction to avoid controlled group liability.               10      Preparation of Expert Opinion."
      11 Q     Um-hmm.                                                      11              Are the documents enumerated in that section,
      12 A    And that's very few in the sense of the client having to      12      in numbers 1 to 18, the only documents that you have
      13      put the question that way, as opposed to "Can you tell        13      looked at in order to form your opinions in this case?
      14      us whether we will have controlled group liability?"          14       As of now?
      15             But, I think, if you read your question                15       Yes.
      16      broadly to include that, then I would say, roughly, 10        16 A     No.
      17     on the multiemployer side, and 20 to 30 Title IV,              17       What other documents, in addition to those listed in
      18     altogether.                                                    18      Exhibit 56, have you reviewed in order to form your
      19 Q     Do the Title IV plans have the same law applicable to it 19          opinions in this case?
      20      regarding controlled group liability?                         20 A     Well -- so you're saying in order to form my opinions.
      21 A     Yes. Multiemployer pension plans are a subset of             21              So these are the documents that I had reviewed
      22      Title IV.                                                     22      as of the time I read this report. In order to form the
      23 Q     When is the last time that you had a client retain you       23      opinion that I -- the updated opinion that I have, as of
      24      with regard to an acquisition that involved an issue of       24      today, I have reviewed documents since then.
      25      avoiding controlled group liability?                          25               I won't be able, from memory, to recite all of

                                                                  Page 22                                                                  Page 24
      1 A     Let me think. Four years ago.                                 1      them, but, for example, they include additional
      2 Q     Have you ever had a client, in which you advised about        2      depositions of Mr. Chaffee, Mr. Cohen, and Mr. Schreier.
      3      an acquisition, have a controlled group -- as a result         3              And, I believe, I also did look at the other
      4      of the acquisition -- that you were unaware of?                4      expert reports filed by the defendant, and all of the
      5             MR. GOULDER: I'm sorry. Can I get that                  5      exhibits to those.
      6      question back?                                                 6 Q     Has a review of those depositions, and the defendants'
      7             THE REPORTER: Yes.                                      7      expert reports, changed your opinions that you've
      8             MR. GOULDER: I didn't follow it.                        8      expressed in Exhibit 56 at all?
      9             (Whereupon the question was read                        9 A     No.
      10               back by the court reporter as follows:               10 Q     Did you review just Jordan Schreier's expert report, in
      11           QUESTION: Have you ever had a client, in which           11     this case, or did you review the other two expert
      12           you advised about an acquisition, have a                 12     reports as well?
      13           controlled group -- as a result of the                   13 A The other two as well.
      14           acquisition -- that you were unaware of?)                14 Q     What was your purpose in reviewing those expert reports?
      15             THE WITNESS: Urn --                                    15 A To see if there was anything that would change my
      16 BY MR. HENGEVELD:                                                  16     opinion.
      17 Q     Do you understand the question?                              17 Q     Is there any document, or other piece of evidence that
      18 A Well, I guess, to make sense of it, I have to assume you 18             you've asked for, that you have not been given, in order
      19   mean that I was unaware of it until later?               19             to form your opinions?
      20             Because if I was unaware of it, and I'm still          20 A The only thing I mentioned, that I hadn't received, was
      21      unaware of it, then, obviously, I don't know.                 21     our expert report by Mr. Geddes, but that turns out it's
      22 Q     Um --                                                        22     not related to — my understanding is it does not relate
      23 A     So you're asking:                                            23     to anything in my report, or my opinion.
      24             Did I later find out that a transaction I              24 Q     What was the reason you were asking for Mr. Geddes'
      25      structured resulted in a controlled group that I had          25     report?



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     ANDREW W. STUMPFF                                                                                               February 09, 2017
     COHEN vs JAFFE                                                                                                             25-28
                                                                   Page 25                                                                  Page 27
      1 A    Completeness.                                                   1 A    No.
      2 Q     Did you review, or ask for, the report from the other          2 Q     Do you know any of the other attomeys at the Jaffe law
      3      damage expert in -- on behalf of plaintiffs?                    3      firm?
      4 A     No.                                                            4 A     I met a couple during the meeting we just mentioned,
      5 Q     Do you know who Jordan Schreier is?                            5      whose names I'm afraid I can't recite.
      6 A     I've met him once.                                             6 Q     How many hours did you spend either reviewing documents,
      7 Q     Where was that meeting?                                        7      or preparing the expert report that's Exhibit No. 56?
      8 A    That was in a meeting at a restaurant in Ann Arbor.             8 A     I could give you a precise answer if I checked my time
      9 Q     What was the purpose of that?                                  9      records, so this will have to be a guess.
      10 A    The purpose of the meeting was the law firm I was              10             Between reviewing documents, and preparing the
      11     previously a part of was — at that point, we'd been             11     report, I'm going to guess 50 is an order of magnitude.
      12     approached by Butzel, and by other firms about a merger, 12 Q           Of those 50, how many hours were spent reviewing the
      13     and we were talking to other firms to see whether -- if         13     documents that are listed on Exhibit 56, in
      14     other people were also interested before we made a              14     Subsection II, "Documents Reviewed in Preparation of
      15     decision.                                                       15     Expert Opinion"?
      16              So we were talking with Mr. Schreier about             16 A So 50 is a guess. Of whatever the number actually is,
      17     whether Dickinson Wright would be interested in working         17     I'm going to guess about 40 percent. So if the
      18     with our firm.                                                  18     denominator is 50, that would be 20 hours.
      19 Q     Do you have an opinion as to whether Jordan Schreier is 19 Q           In this case, there's been invoices from Butzel Long
      20     a qualified ERISA, or standard of care expert?                  20     from you for August 2016 and September 2016. Did you
      21 A     I have no basis to know.                                      21     send out invoices since September of 2016?
      22 Q     Do you know Jeff Weiss?                                       22 A    I would have for sure, yeah.
      23 A     I do not.                                                     23 Q     Did you send out invoices on a monthly basis?
      24 Q     Do you know Deb Baughman?                                     24 A    We -- that is our practice.
      25 A     I have met her at least twice, yeah.                          25 Q     And that is, indeed, what occurred     what occurred in

                                                           Page 26                                                                          Page 28
      1 Q     What was — what were those meetings, and what were the         1      this case?
      2      occasion for those meetings?                                    2 A     I can't tell you without checking the records, but I
      3 A     So in Deb's case, I have met her once, or possibly             3       have no reason to believe, otherwise.
      4      twice, at Bar Association functions. And then one of            4              MR. HENGEVELD: Could we go off the record a
      5      the other meetings was exactly the same circumstances as        5       minute?
      6      the meeting in which I met Mr. Schreier, but involving          6              (Off-the-record discussion.)
      7      Jaffe.                                                          7 BY MR. HENGEVELD:
      8 Q     That is, you were considering taking your practice to          8 Q      Since issuing your report -- that being Exhibit 56 --
      9      the Jaffe law firm?                                             9       how many hours did you spend on this case?
      10 A    That's correct.                                                10 A     Well, I'd love to be able to check the records to give
      11 Q     How long ago was that?                                        11      you an exact answer, so this will have to be a guess
      12 A    This was     this is 2017. I am going to guess                 12      again. The report was issued in early December. I'm
      13     two years -- roughly, two years ago.                            13      going to guess 30 since then, 20 to 30.
      14 Q     Was there a particular reason that you decided to go          14 Q      How many telephone conversations have you had with
      15      with the Butzel law firm versus the Jaffe law firm?            15      Jeff Goulder or Michael Vincent after issuing your
      16 A    There were a number of particular reasons.                     16      report?
      17 Q     Does any of the reasons that you did not take your            17 A     On the order of five.
      18      practice to the Jaffe law firm have to do with the             18 Q      What did you do to prepare for your deposition today?
      19     standard of practice as it relates to this case?                19 A     I reviewed all the documents and I talked with
      20 A     No. We never heard of this case at the time.                  20      Mr. Goulder.
      21 Q     Does any of the reasons that you did not take your            21 Q      You said "reviewed all the documents." Are you
      22      practice to the Jaffe law firm have to do with the way         22      referring to those documents listed in your report, as
      23      in which the firm practices law, in general?                   23      well as the depositions you mentioned, as well as the
      24 A     No.                                                           24      defendants' expert reports in this case?
      25 Q     Do you know Lee Kellert?                                      25 A     As well as my own report, yes.



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     ANDREW W. STUMPFF                                                                                        February 09, 2017
     COHEN vs JAFFE                                                                                                      29-32
                                                             Page 29                                                             Page 31
      1 Q     How long did you meet with Mr. Goulder, or talk with      1 Q     You do not agree with that?
      2      Mr. Goulder, prior, in preparation for your deposition     2 A     I do not agree with that.
      3      today?                                                     3 Q     What is your opinion with regard to the requirement that
      4 A     I met with him for, perhaps, 30 minutes yesterday. And    4      a lawyer and the defendants, in this case, in
      5      you asked "or talk" with him, and I think during the       5      particular, have a written engagement letter with their
      6      additional phone calls, probably another 10 or             6      clients?
      7      15 minutes.                                                7 A    So you're using the word "requirement" without having
      8 Q     Back to Exhibit 56, I'm turning your attention to         8      defined it. Your previous question was "standard of
      9      page number 4.                                             9      care." My view is strong that the standard of care is
      10 A    Um-hmm.                                                   10      that you should have a written engagement letter.
      11 Q     Under Subsection IV -- sorry -- under Section IV,        11             If you mean a requirement elsewhere, I need to
      12     Subsection A, paragraph number 1, you state that:          12     know what you mean by that.
      13              Based on the documents I have reviewed, it        13 Q     What is the basis for your conclusion that the standard
      14     appears that Jaffe, Raitt did not carefully identify its   14     of care requires a written engagement letter?
      15     client at the time of the acquisition.                     15 A    My 30 years of practice in trying to make sure that both
      16              Do you see that?                                  16     we, and the lawyer — we and our client know exactly who
      17 A    Yes.                                                      17     is representing whom as to what.
      18 Q     What documents, in particular, lead you to conclude that 18 Q So is that based upon your particular practice over
      19     Jaffe, Raitt did not carefully identify its client at      19     30 years?
      20     the time of the acquisition?                               20 A     My practice, and the standards of all the firms I've
      21 A    For this conclusion, the documents were the depositions 21        been associated with.
      22     of the Jaffe lawyers, and the exhibits to those            22 Q     Can you identify either a Model Rule of Professional
      23     depositions.                                               23     Conduct, or a statute, or caselaw, or some other
      24 Q     Do you recall any document, in particular, that was an   24     authority, that requires a lawyer to have a written
      25     exhibit to those depositions?                              25     engagement letter with a client?

                                                              Page 30                                                          Page 32
      1 A     My recollection is that the -- there was an engagement    1 A     No. And I understand that to be a different question
      2      letter produced during one of the -- during the course     2      than the standard of care.
      3      of one of the depositions that was attached, and so that   3 Q     So to be clear, though, the standard of care that you're
      4      document, as well as the answers, I believe, in            4      applying to the defendants, in this case, is a result of
      5      Mr. Weiss' deposition.                                     5      your practice at particular law firms throughout your
      6              And then, I guess, I would also have to add,       6      career?
      7      as part of the conclusion, the other document that was     7 A     Yes.
      8      relevant was the actual transaction document that          8 Q     Do you make a distinction between what is a best
      9      occurred in the transaction.                               9      practice versus what is the standard of care in
      10 Q     The closing statement?                                   10      formulating any of your opinions in this case?
      11 A    The purchase agreement, whatever it was that -- I can't   11 A     Not in this case. Obviously, there is a conceptual
      12      remember the exact title -- the purchase agreement by     12      difference between best practice and standard of care,
      13      which LSI was purchased.                                  13      but, in this case, I don't believe I was asked about, or
      14 Q     Do you agree that a written engagement letter with a     14      have opined about, best practices.
      15      client is not required under the standard of care?        15 Q     And, in this case, you believe that Jaffe, Raitt, or the
      16              MR. GOULDER: Object to the form. Calls for a      16      defendants in this case, fell below the standard of care
      17      legal conclusion.                                         17      by not having a written engagement letter with their
      18              THE WITNESS: Um, I --                             18      clients?
      19              MR. HENGEVELD: Let me rephrase that.              19 A     Yes, I do.
      20              THE WITNESS: All right.                           20 Q     And that's based upon you having written engagement
      21 BY MR. HENGEVELD:                                              21      letters for your clients over your career?
      22 Q     Do you agree that the standard of care applicable to the 22                MR. GOULDER: Object to the form. Misstates
      23      defendants, in this case, does not require them to have   23      his prior testimony.
      24      a written engagement letter with their clients?           24             THE WITNESS: Yeah. It's -- it's not based on
      25 A     No.                                                      25      what l have done, specifically, so much as it's based on



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      ANDREW W. STUMPFF                                                                                                  February 09, 2017
      COHEN vs JAFFE                                                                                                                33-36
                                                                Page 33                                                          Page 35
       1      having had to decide — every time we took on a new        1 Q Do you have an understanding of the ownership structure,
       2      matter — who our client was, and having had to reflect    2   or equity structure, for any of the other acquisitions
       3      that accurately, and all of the conclusions that went     3   that CoBe Capital, Neal Cohen, or Darren Chaffee, have
      4       into that, as well as the requirements and practices of           4      been involved with prior to the LSI acquisition?
       5      the various law firms that I've worked for.                       5 A The one I have looked at, specifically in connection
      6              So its — its -- I get that your question                   6   with my report and my opinion, is the ownership
       7      was whether its just based on what I've done, and                 7      structure of a company called "SSL." That's the only
       8      that's -- I have to answer no, because its based on all           8      one that I'm -- as I sit here — familiar with enough to
       9      the things I just listed.                                         9      describe the ownership.
      10 BY MR. HENGEVELD:                                                      10 Q    In any of the documents that you have reviewed -- and
      11 Q      Well, do you agree that a lawyer can still reflect on           11     that's including e-mails from Mr. Chaffee and Mr. Cohen,
      12      the accuracy of who his client is, without having a               12     to either Jeff Weiss, or the other lawyers at the
      13      written engagement letter?                                        13     Jaffe, Raitt law firm — did you ever have the
      14 A     Yes.                                                             14     impression that CoBe Capital would be acquiring LSI, or
      15 Q      And do you agree that nothing in the Michigan Rules of 15              that CoBe Capital, itself, would be involved in the
      16      Professional Conduct, or — requires a written                     16     acquisition?
      17      engagement letter for this particular engagement in               17              MR. GOULDER: Object to the form. Vague.
      18       which the defendants were engaged?                               18              THE WITNESS: Yeah. So did I ever have the
      19 A     To my —                                                          19     impression? That's a difficult question to answer.
      20               MR. GOULDER: Object --                                   20              What I can tell you is that that is an area
      21               THE WITNESS: -- knowledge --                             21      where the e-mails, and the other documents, are very
      22               MR. GOULDER: -- to the form. Asked and                   22      unclear.
      23       answered.                                                        23 BY MR. HENGEVELD:
      24               THE WITNESS: To my knowledge, I know of no               24 Q Going back to Exhibit 56, Sub- — sorry -- Section IV,
      25       such requirement in the Michigan rules.                          25   paragraph — Subsection A, paragraph 2, says: Based on

                                                                      Page 34                                                         Page 36
       1 BY MR. HENGEVELD:                                                      1      the documents I have reviewed, it seems clear that
       2 Q     Do you have an understanding of the history between              2      Messrs. Cohen and Chaffee were, as individual investors,
       3      CoBe Capital and the Jaffe, Raitt law firm, prior to the          3      seeking guidance on their own behalf.
       4      LSI acquisition?                                                  4               Do you see where I read that from?
       5 A     Well -- so that's a pretty vague question. I'll tell             5 A     I do.
       6      you what my understanding is. My understanding -- based           6 Q     What documents, specifically, then, are you referring to
       7      on what I've seen -- is that there was prior                      7      that you believe made clear that Mr. Cohen and Chaffee,
       8      representation by Jaffe of -- and, I believe, the                 8      as individuals, were seeking guidance from the Jaffe law
       9   previous engagement letter identified CoBe.                          9      firm?
       10 Q Does that history — that being the prior representation             10 A     For this one, its -- in particular, it's an e-mail,
       11      of CoBe Capital by Jaffe — have any impact on your               11      which, I believe, is from -- I'm going to say --
       12      opinions in this case?                                           12      April 3, 2013.
       13 A     Yes.                                                            13 Q     I'm handing you what has been previously marked as
       14 Q     How so?                                                         14      Exhibit No. 7, in this case. Is this the document that
       15 A     It seems clear to me that it would have been apparent, •        15      you're referring to, the e-mail you're referring to?
       16     from the prior representation, that the people involved           16 A Yeah. This -- this is the thread that includes that
       17     with CoBe Capital, as well as the various entities,               17      e-mail.
       18     formed a -- kind of a net of different investment                 18 Q So where, in particular, do you believe that it makes
       19      companies, which I've described in my report as being            19   clear that Cohen and Chaffee were -- as individual
       20      typical of the, sort of, portfolio investor.                     20      investors -- seeking guidance from Jaffe?
       21              And that knowledge that Jaffe would have                 21 A So this is in -- we're looking at this thread -- its
       22      had -- and that was the nature of this set of                    22   the e-mail from Wednesday, April 3, 2013, at 10:43 a.m.,
       23      businesses — increases my view that Jaffe should have            23      and it's the third paragraph.
       24      been on high alert for a controlled group liability, in          24 Q     Can you read, for rne, what you're referring to,
       25      particular, a brother-sister liability.                          25      specifically?



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     ANDREW W. STUMPFF                                                                                                   February 09, 2017
     COHEN vs JAFFE                                                                                                                 37-40
                                                                 Page 37                                                                      Page 39
      1 A    Sure.                                                             1            But, for example, that's irrelevant if
      2              One of the big issues in this deal is the                 2      Mr. Chaffee had, for example, said expressly, "l hereby
      3      facility's union, and they sponsor a multiemployer                3      request my representation — I hereby request that you
      4      pension plan. The potential clawback on the withdrawal            4      represent all my entities without listing them."
      5      liability is a risk that HNI has.                                 5            There would be no question that I represented
      6              We also want to be sure that we aren't                    6      them, even though he hadn't listed them. And what I'm
      7      personally liable for other assets/companies at risk.             7      saying is that I view this language as effectively
      8      We want to discuss this further. I understand the risk            8      synonymous to that, particularly, given the context.
      9      around this pretty well, because we've been researching. 9 Q So when you have been involved in those approximately
      10 Q     Is it your opinion, in this case, that the defendants  10  100 acquisitions, did you represent not only the
      11     represented SSL Assets in some capacity?                          11     acquiror, but also the entities that the acquiror may,
      12 A    Yes.                                                             12     or may not, own?
      13 Q     In your opinion, how is it that the defendants                  13 A    Who we represented in each of those acquisitions would
      14     represented SSL Assets in any capacity?                           14     have been a function of who we named in our engagement
      15 A    Because Mr. Chaffee had come forward and effectively 15                 letter. It's very fact-specific.
      16     said,"We would like you to represent us, personally, as           16             So, to be clear — and just getting to the
      17     well as the organizations," for which I'm speaking.               17     premise of your question -- I'm not saying that by
      18 Q     There's nothing in Exhibit 7 that lists what those              18     representing one company, you automatically represent
      19     entities are that he's seeking representation, on behalf          19     all the other companies.
      20     of, or speaking, on behalf of, and, in particular,                20             I'm saying if the facts are such that the
      21      nothing with regard to SSL Assets; correct?                      21      person has come to you, and asked you to represent a
      22 A    Correct.                                                         22      bunch of companies, then you represent a bunch of
      23 Q     In your opinion, how should the defendants have                 23     companies. If they have not, then you don't.
      24      understood that they were representing SSL Assets, or            24 Q     And, in this case, is the language -- that you've
      25      any other entity?                                                25      identified in Exhibit 7 -- the basis for you concluding

                                                                     Page 38                                                              Page 40
      1 A     By this language.                                                1      that the defendants represented all of the entities that
      2 Q     By what language, in particular?                                 2      both Mr. Chaffee and Mr. Cohen owned at the time of the
      3 A     That I just read.                                                3      LSI acquisition?
      4              That we want to be sure that we are not                   4 A     Yes, I am. And I'm specifically saying that Jaffe
      5      personally liable, or put our other assets or companies           5      certainly should have operated under that assumption,
      6      at risk.                                                          6      given the context.
      7              So I read that as at least arguably equivalent            7             So again, you have language that can be read
      8      to having said, "I am coming to you to represent us, and          8      as synonymous to "I'm coming to ask you to represent all
      9      our controlled group of companies, to make sure we don't          9      my companies."
      10      have controlled group liability."                                10             You also just have the fact that the client is
      11 Q     Is it your opinion that an attorney who advises about           11      particularly worried about all those companies. And in
      12      potential controlled group liability represents each and         12      my experience, under those circumstances, you have to
      13      every entity that may be a part of that controlled               13      operate as though you represent all those companies, and
      14      group?                                                           14      it's the burden that would be on you, if you think
      15 A     If they are asked to, yes. If they are not asked to,            15      otherwise, to limit the case by writing an engagement
      16      no. You can't say without knowing what the request was. 16               letter of that fact.
      17 Q     Well, in this particular case, was it your opinion that         17 Q     Given your opinion, do you agree that it is the client's
      18      the defendants represented -- as their clients — each            18      responsibility and duty to know what businesses they
      19      and every entity that may, or may not, have been part of         19      own?
      20      a controlled group as a result of the acquisition of             20 A     When you say "duty," that's under -- that's a vague
      21      LSI?                                                             21      term. I don't know what would provide them with a duty.
      22 A     Yes. They represented every entity for which                    22             But, I guess, what I'm assuming you're asking
      23      Mr. Chaffee was speaking in this e-mail.                         23      is in the context of an interaction like this, is it the
      24 Q     Do you know what entities those are?                            24      client's responsibility to know what businesses they
      25 A     I do not. I couldn't list all of them, in any case.             25      own?



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      ANDREW W. STUMPFF                                                                                                   February 09, 2017
      COHEN vs JAFFE                                                                                                                 41-44
                                                                        Page 41                                                                Page 43
       1            And certainly the answer is yes. It is their                  1      pension withdrawal liability?
      2      responsibility to know what businesses they own.                     2 A     My recollection is this, that Mr. Chaffee had become
      3 Q Do you agree that a lawyer can rely upon the client's                   3      aware that there was such a thing, partly from a friend
      4      knowledge of what businesses they own                                4      of a colleague, and that he and/or his colleagues had
      5 A Sure.                                                                   5      done some Internet-based searching around the topic.
      6 Q     — if --                                                             6 Q     And that friend you refer to is a lawyer; correct?
      7             Can you — do you agree that a lawyer can rely                 7 A     I can't tell you, with certainty, but that is my
      8      upon the client to know with whom he owns those                      8      recollection that it was a lawyer friend who was not
      9      businesses?                                                          9      practicing as a lawyer, but was at another private
      10 A Yes. But, of course, in certain contexts the word "own"                10     equity firm.
      11     can have technical, specific statutory meaning, and the              11 Q    And do you specifically recall that that lawyer was
      12     lawyer can't rely on the client to know that.                        12     involved in an acquisition involving pension withdrawal
      13 Q Do you believe that the level of sophistication of a                   13     liability?
      14   client impacts the way the lawyer can communicate with                 14 A    Only vaguely. I -- I don't remember the details.
      15     the client?                                                          15 Q     Is what you just answered the total and extent to which
      16 A Yes.                                                                   16     you have any understanding of what due diligence
      17 Q So the more sophisticated a client is, the lawyer can     17                   Mr. Chaffee and Neal Cohen performed with regard to
      18     communicate in more sophisticated ways? Would you agree 18                  controlled group liability prior to the acquisition of
      19     with that?                                              19                  LSI?
      20 A    I would, although I think I might add that, in this                 20 A    As -- as I remember it, yes.
      21     case, it might produce a different result, because the               21 Q     Are you aware that Mr. Chaffee had researched articles
      22     more sophisticated client may know that there's a                    22     regarding controlled group liability, or pension
      23     difference between technical equity ownership and                    23      withdrawal liability?
      24     economic ownership.                                                  24 A    Yes.
      25                And so you might be less likely to be able to             25 Q     And are you aware that Mr. Chaffee had read the

                                                            Page 42                                                                         Page 44
       1     just rely on a simple word "ownership," and you might                1      Sun Capital Partners case prior to retaining the Jaffe
       2     have to be more precise for the more technically                     2      law firm?
       3     sophisticated client.                                                3             MR. GOULDER: Objection. Assumes facts not in
       4                MR. GOULDER: If you get to a point where you              4      evidence.
       5     want a break,just say the word.                                      5             THE WITNESS: Yeah, I -- I don't remember that
      6                 THE WITNESS: I'm good, but if anybody else                6      part of it, but it wouldn't surprise me.
       7     here wants to take a break, that's fine.                             7 BY MR. HENGEVELD:
       8 BY MR. HENGEVELD:                                                        8 Q     Are you aware that Mr. Chaffee had researched
       9 Q     Let's go back to Exhibit 56. I'm still under                       9      articles -- for example, an article from
      10      Section IV, but now I'm on Subsection B, paragraph 2.               10     Skadden, Arps -- regarding the Sun Capital Partners
      11                 Do you see where I'm referring to?                       11     case?
      12 A     I do, yes.                                                         12 A    I -- again, I didn't remember that it specifically
      13 Q     In that paragraph, you indicate that the clients,                  13     related to Sun Capital, but I did remember -- I did
      14      themselves, specifically highlighted the issue of                   14     remember Skadden was one of them that he found articles
      15      potential controlled group liability; correct?                      15     online.
      16 A     Correct.                                                           16 Q     In your opinion, is Mr. Chaffee a sophisticated client?
      17 Q     Do you know what due diligence Darren Chaffee and                  17             MR. GOULDER: Object to the form. Vague.
      18      Neal Cohen performed, prior to retaining the Jaffe law              18     Beyond the scope. That's his opinion.
      19      firm regarding the LSI acquisition?                                 19             THE WITNESS: Yeah. So I have to say the word
      20 A     I only got the sense that I got by reviewing                       20     "sophisticated" is an extremely -- not just vague, but
      21      Mr. Chaffee's deposition.                                           21     also a relative term, so I have to say sophisticated
      22 Q     Did you review the exhibits to that deposition as well?            22     with respect to what?
      23 A     Very briefly.                                                      23             If the question is, was he sophisticated in
      24 Q     Do you know, specifically, what due diligence                      24     connection with financial transactions, relative to an
      25      Darren Chaffee or Neal Cohen performed with regard to 25                   average person on the street, then that answer is yes.



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     ANDREW W. STUMPFF                                                                                               February 09, 2017
     COHEN vs JAFFE                                                                                                             45-48
                                                                   Page 45                                                                  Page 47
      1 BY MR. HENGEVELD:                                                     1               Do you see that?
      2 Q     What about with regard to sophistication regarding              2 A    Yes, I do.
      3      issues of pension withdrawal liability and controlled            3 Q The attribution concept actually derives from the
      4      group liability?                                                 4      tax code; correct?
      5 A     Absolutely not. He was aware that the issue existed,            5 A    Correct. Well, I guess I have to clarify that.
      6      but in terms of sophisticated understanding of the               6      Ultimately, the attribution, in question, is a function
      7      issue, absolutely not.                                           7      of ERISA, but it defines it by cross-reference to the
      8 Q     Do you believe that a nonlawyer client can understand           8      tax code. So the definition stems from tax definitions.
      9      the issues regarding controlled group liability when             9 Q     Right. The concept of attribution is formed via the
      10      they're acquiring a business that has, or sponsors, a           10     tax code, and is applied, in this particular case, under
      11      multiemployer pension plan?                                     11     the ERISA law —
      12 A     So the question is:                                            12 A    So that —
      13              Is it possible for a client to understand               13 Q       statutes?
      14      those issues?                                                   14 A -- phrasing doesn't compute for me. The concept being
      15 Q     Yes.                                                           15     formed and applied in this case.
      16 A     Yes.                                                           16              The way -- the way I phrase it is, ERISA
      17 Q     Are the opinions that you provide, in this case, taking        17     imposes attributed ownership, and defines it by
      18      into account the level of sophistication by Mr. Chaffee         18     cross-reference.
      19      and Mr. Cohen as it relates to controlled group                 19 Q     Going back to Exhibit 56, page 8, paragraph number 9.
      20      liability?                                                      20     In there you state that:
      21 A     Yes.                                                           21              Because of these detailed, intricate ownership
      22 Q     Again, you deem -- you deem both of them -- that is            22     tests, the most common approach to gaining a confident
      23      Chaffee and Cohen — to be completely unsophisticated 23                understanding of the extent of controlled group status
      24      regarding controlled group liability issues?                    24      is to obtain or create, with the client's input, an
      25 A     Well, I'm not sure I'd use the word -- so                      25      organizational chart.

                                                                    Page 46                                                                 Page 48
       1     "sophisticated," again, is such a vague and relative             1               Do you see that?
      2      term. They're sophisticated relative to people who have          2 A     I do.
      3      never heard of the issue, but if we ask ourselves,"Are           3 Q     Does the standard of care require that an organizational
      4      you sophisticated on this issue? Do you have a                   4      chart be obtained, or created, when rendering advice
      5      sophisticated understanding of this issue?" then                 5      about whether there's controlled group liability?
      6      absolutely not, they are not sophisticated.                      6 A     So if the question is:
      7            And, l guess, l would be willing to say, in                7               Can the standard of care be met without an
      8      your words,"completely unsophisticated," except to the           8      organizational chart?
      9      extent they're aware that the issue exists. That's more          9               The theoretical answer is no.
      10     sophisticated than the average person.                           10               What the standard of care requires is that you
      11 Q Well, do you know whether Mr. Chaffee, or Mr. Cohen, was 11                develop a complete understanding of the organization,
      12     aware of the brother-sister test, or parent-subsidiary           12      and if its possible for you to do that, simply by means
      13     test, regarding controlled group liability prior to              13      of words -- A company owns B company, which is
      14      retaining Jaffe?                                                14      30 percent owned by C company, et cetera — that
      15 A So l don't know whether they'd heard of it. They might             15      theoretically can suffice.
      16      have heard of it.                                               16               But, in my experience, the way the human brain
      17 Q     Going back to Exhibit 56, turning your attention to            17      works, the only way to get the actual understanding
      18      page 8, and the paragraph number 8 at the top of page 8.        18      necessary to perform the standard of care for a
      19      Do you see that?                                                19      complicated organization is through a chart.
      20 A Yes, l do.                                                         20               But, nonetheless, if your brain worked the
      21 Q You say:                                                           21      right way, theoretically you could acquire the
      22            Crucially, in applying either the                         22      information without a chart.
      23      parent-subsidiary, or the brother-sister test, ownership        23 Q     Okay. So then, to be clear — I want to make sure that
      24      must be "attributed" from certain entities and persons          24      your prior answer was accurate -- theoretically, you are
      25      to others.                                                      25      able to comply with the standard of care without an



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     ANDREW W. STUMPFF                                                                                                 February 09, 2017
     COHEN vs JAFFE                                                                                                               49-52
                                                                     Page 49                                                         Page 51
      1      organizational chart; correct?                                           Jaffe, only Darren and Neal could have provided an
      2 A     Correct. I've never met anyone, I think, that could do           2      organizational chart.
      3      that, but correct, theoretically.                                 3 Q Thank you.
      4 Q     Well, if you had a client that did not have any common           4 A    Sure.
      5      ownership with another individual or a company, that was          5 Q     With regard to your opinion in Exhibit 56, page 8,
      6      part of the acquisition of an entity with a                       6      Subsection D, where it states:
      7      multiemployer pension plan, then you could -- without             7              Once it arises, controlled group liability,
      8      having an organizational chart -- conclude that there is          8      under Title IV of ERISA, cannot be escaped through
      9      no brother-sister tests — or, sorry — there's no                  9      corporate divestiture or reorganization.
      10     brother-sister relationship for controlled group                  10 A    Um-hmm.
      11     liability; correct?                                               11 Q     Do you -- first of all, do you see that?
      12             MR. GOULDER: Objection. Vague and assumes                 12      Yes, I do.
      13     facts not in evidence.                                            13 Q    A pension withdrawal liability has not been assessed
      14            THE WITNESS: So the one point I'll note with               14     against LSI, or LSI Holdings of America, LLC, or
      15      your question and answer, is that there is a vague term          15     SSL Assets; correct?
      16      used in the preface to your question, which is the term          16      I don't know.
      17     "common ownership."                                               17 Q     Well, only the trustees of the Pension Fund can assess
      18             If you unpack that term to say                            18     pension withdrawal liability; correct?
      19     common ownership under all the relevant regs and                  19      That's my understanding.
      20     statutes, then the answer to your question is yes.                20 Q     And you've not seen any evidence, in this case, that the
      21 BY MR. HENGEVELD:                                                     21     trustees of the Pension Fund have assessed
      22 Q     Have you seen an ownership chart of Darren Chaffee's            22      pension withdrawal liability; correct?
      23     ownership interests in any entities that he owns?                 23       I don't believe I have, no.
      24 A    So I have seen various charts. I don't know — I may,             24 Q     Do you agree that the evading and avoiding section of
      25      or may not, have seen a chart that purported to be a             25      ERISA does not prevent a business from changing its

                                                                     Page 50                                                                Page 52
      1      complete chart of Darren's ownerships.                            1      ownership structure, so long as there are -- are
      2            The one I had focused on is just an ownership               2      good-faith nonwithdrawal liability reasons for making
      3      chart of SSL.                                                     3      the changes?
      4 Q Is it the attorneys duty to create an organizational                 4 A     I absolutely do not agree with that statement. The way
      5      chart for the client?                                             5      you phrased that statement is, so long as there are
      6 A     Of course not. The attomey's duty is to acquire a full           6      other reasons. It restates the question as though it's
      7      understanding of the network of ownership interests.              7      a test of whether it's a sham that states the tax sham
      8 Q     Do you agree that only the client can provide the                8      transaction question.
      9      ownership interests for the attorney to assess?                   9              The test, in this case, is whether any
      10 A    Well, that depends on the facts. I suppose, in some              10      reason -- any of the reasons -- includes escaping
      11     cases, it might be public. But in — in this case, I               11      liability. So the mere fact that you can identify one
      12     have no reason to believe Jaffe could have produced the           12      or more other reasons does not allow you to do this
      13     organizational chart without having asked the                     13      transaction. So I completely disagree with the way you
      14     information necessary to produce it, so no.                       14     stated it.
      15 Q That is, so, yes, you agree that —                                  15 Q     Well, just because there is the evading and avoiding
      16 A    In this case --                                                  16     section of ERISA, that doesn't prevent a business from
      17 Q -- only Darren Chaffee or Neal Cohen could have provided 17                 changing its ownership structure if the reason for
      18     the ownership interests, or their — any of —                      18      changing it isn't to avoid pension withdrawal liability;
      19     interest -- or entities that they had an interest in?             19      correct?
      20 A    Yeah. So I'm just trying to make the question more               20 A     Correct. If it's a complete, unanticipated side effect,
      21     precise, so I can answer it.                                      21      then it doesn't prevent it, and that's a question of
      22            I think your original question was "only the               22     fact.
      23     client" can do that, and I — so precisely rephrasing              23 Q     And the fund has the burden to prove that the change in
      24     the question, and answering it:                                   24      ownership was intended to evade or avoid
      25            In this case, between Darren and Neal and                  25      pension withdrawal liability; correct?



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     ANDREW W. STUMPFF                                                                                               February 09, 2017
     COHEN vs JAFFE                                                                                                             53-56
                                                             Page 53                                                                     Page 55
      1 A     I don't remember the burden of proof. I don't know.    1              the pension withdrawal liability amount?
      2 Q     Would you agree with me that businesses change their 2 A I don't know. I have no experience with that.
      3      ownership structure all the time for various reasons  3 Q Are there any other factors that the trustees of the
      4      that are not related to pension withdrawal liability?           4      fund take into consideration in negotiating down the
      5 A     Yes, I would.                                                  5      amount of pension withdrawal liability?
      6 Q     Once pension withdrawal liability is assessed — that           6 A So —
      7      is, by the fund — can the sponsors of the plan                  7             MR. GOULDER: Object to form and foundation.
      8      negotiate to reduce the amount of that pension                  8            THE WITNESS: I just don't know.
      9      withdrawal liability?                                           9 BY MR. HENGEVELD:
      10 A    My understanding is yes.                                       10 Q Do you have any opinions, in this case, about whether
      11 Q     Have you ever been involved in such a negotiation?            11     SSL Assets has a duty, or responsibility, to attempt to
      12 A    I have not.                                                    12      mitigate any alleged pension withdrawal liability that
      13 Q     Have you ever had a client that has been assessed             13      might be assessed?
      14      pension withdrawal liability?                                  14 A    I don't know.
      15 A    I have not. Oh, no, I'm sorry. I have. I have had a            15 Q Do you agree that Darren Chaffee and Neal Cohen are not
      16     client that's been assessed pension withdrawal                  16     subject to pension withdrawal liability as a result of
      17     liability.                                                      17     the LSI acquisition?
      18 Q    And have you, in that situation, been asked to attempt 18 A             I can't —
      19     to reduce the pension withdrawal liability?             19                     MR. GOULDER: Objection. Calls for a legal
      20 A     I have.                                                       20      conclusion.
      21 Q     And what steps did you take to attempt to reduce that         21            THE WITNESS: Yeah, I can't — I just don't
      22      pension withdrawal liability?                                  22      know. I'd have to analyze it. That's not something
      23 A     I negotiated with the trustees.                               23      I've analyzed.
      24 Q     And were you able to reduce the amount of pension             24 BY MR. HENGEVELD:
      25      withdrawal liability in that case?                             25 Q     Have you been asked to analyze whether this particular

                                                                   Page 54                                                        Page 56
      1 A     Yes, I was.                                                    1       multiemployer pension plan could be deemed to be a
      2 Q     By what percentage were you able to reduce the                 2      construction industry plan?
      3      pension withdrawal liability?                                   3 A     I have — the -- the — the question has been raised
      4 A     That, I just don't remember. It was probably on the            4      with me by Stinson, and I have briefly looked at it.
      5      order of 10 percent.                                            5 Q      And when was that raised --
      6 Q     How was it that you were able to negotiate down that           6 A     It was —
      7      amount of pension withdrawal liability?                         7 Q      — first raised with you?
      8 A     I'm not quite sure what you're asking.                         8 A     It was first raised after my report. I'd say maybe late
      9 Q     What arguments did you make, on behalf of your client, 9              December, or early January. I don't remember exactly
      10      to reduce the amount of —                                      10      when.
      11 A    So --                                                          11 Q     And what were you specifically asked to do regarding
      12 Q     -- pension withdrawal liability?                              12      whether this is a construction industry plan?
      13 A    So this is one client -- and this is probably six years        13 A     I was asked for a quick view as to whether I thought
      14      ago, so I'm -- and I'm just bringing it to mind, and I'm       14      that that exception might apply.
      15      having trouble remembering exactly what our argument 15 Q               Did you form a conclusion as to whether that exception
      16      was.                                                           16      might apply?
      17              Oh, I think it actually had to do with the             17 A     I formed a preliminary conclusion that it does not
      18      limitations period. I think we argued that they had            18      apply.
      19      possibly missed the period for assessing the liability.        19 Q     And what is that conclusion based upon?
      20 Q     And what is the statute of limitations period with            20 A     So my understanding is that the construction industry
      21      regard to the fund assessing pension withdrawal                21      exception is defined by reference to caselaw under labor
      22      liability?                                                     22      law, and I believe its the LMRA, but I'm not certain of
      23 A     I'm sorry. I don't remember.                                  23      that recollection.
      24 Q     Do you know whether the trustees of the fund take an          24               But my understanding is that the caselaw --
      25      ability to pay into consideration when negotiating down        25      the definition of construction industry is relevant for



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     ANDREW W. STUMPFF                                                                                                     February 09, 2017
     COHEN vs JAFFE                                                                                                                   57-60
                                                            Page 57                                                                          Page 59
      1      those purposes under labor law, and has been the subject           1      about indirect ownership of interests held by
      2      of cases defining what is a construction industry                  2      Messrs. Cohen and Chaffee would have had to be elicited
      3      company, and that the test is something along the lines            3      from these individuals by Jaffe, Raitt, in order
      4      of the company's work being predominantly done on the              4      correctly to characterize the risk of triggering
      5      construction job site.                                             5      potential controlled group liability on the part of SSL
      6               So in the case of new building construction               6      as a result of the acquisition.
      7      the new work is predominantly done on the job site. And            7               Do you see that?
      8      so my preliminary understanding of both the rule and the           8 A     Yes.
      9      facts here, is that testimony applied here, because too            9 Q     Do you agree with me that that information about the
      10      much of this company's work was not done at the                   10      indirect ownership interests, owned by Cohen and Jaffe,
      11     construction site.                                                 11     could be elicited orally?
      12 Q     And what do you base that conclusion on in terms of the 12 A             Yes.
      13     facts?                                                             13 Q     When you say "indirect ownership interests," what are
      14 A     My understanding, my very brief understanding, that I            14      you referring to, in particular?
      15     could draw from the documents that this -- and I think             15 A     Any indirect ownership would have to be elicited. In
      16     that Stinson has told me -- that this company                      16      this case, what turned out to be -- what turned out to
      17      manufactures shelving and cabinetry, and does some                17      exist, and be relevant, was indirect ownership through
      18     installation, but my understanding is not enough to meet           18      intervening companies.
      19     the test under this caselaw.                                       19               Other types of indirect ownership that would
      20 Q     What would be the impact if this were to be deemed a             20      have to be asked about, as well, turned out not to be
      21     construction industry plan?                                        21      relevant here.
      22 A    Then the -- my understanding -- and this is not an area           22 Q     Let me ask you about both. What are you specifically
      23     that I've spent a lot of time in -- is that the                    23      referring to with regard to the -- what you deemed as to
      24      withdrawal liability would not apply.                             24      be "intervening companies"?
      25 Q     Going back to Exhibit No. 56 —                                   25 A     So, for example, in the case of SSL, neither

                                                                      Page 58                                                           Page 60
      1 A    Yeah.                                                              1      Mr. Chaffee, nor Mr. Cohen, owned an interest in SSL.
      2 Q     — page number 10, paragraph number 4 on that page,                2      Mr. Chaffee and Mr. Cohen each owned interests in other
      3      starts with "Analysis of the ownership structure."                 3      entities, which owned interests in SSL.
      4               Do you see that?                                          4               That is indirect ownership, and so you would
      5 A     I do.                                                             5      need to elicit information about indirect ownership in
      6 Q     Do you know what documents existed at the time that               6      order to be able to make this analysis.
      7      Jaffe rendered its advice on controlled group liability            7 Q     In your prior answer you mentioned indirect ownership
      8      that you believe Jaffe should have had before rendering            8      that you said turned out not to be relevant. What are
      9      that advice?                                                       9      you referring to in that --
      10 A    Do I know what documents exist that Jaffe should have             10 A     So --
      11     had? Um --                                                         11 Q     -- answer?
      12 Q     And -- sorry — specifically with regard to Exhibit —             12 A     So,for example, the attribution rules are fairly broad,
      13     sorry -- paragraph number 4 on page 10, and that is your           13      and if, for example, a family member owns stock in a
      14     reference to the analysis of the ownership structure?              14      company, that may have to be attributed to you, if were
      15 A    Um-hmm.                                                           15      asking about you.
      16 Q     I guess my more precise question is:                             16               So the question, sort of, goes to how precise
      17              What, specifically, are you referring to of               17      one has to be when one asks about ownership, because of
      18     the analysis of ownership structure?                               18      the potential for indirect ownership from many different
      19 A    So I'm referring to the facts of the ownership                    19      sources, only one of which turned out to be relevant
      20     structure, what they owned. I'm not actually referring             20      here.
      21     to a document. I don't know what documents existed.                21               But had the precise question been asked, it
      22              I'm referring to the facts, as they existed,              22      would have elicited that, as well as all the other
      23     and analysis of those facts should have led to that                23      possible relevant forms of ownership.
      24     conclusion.                                                        24 Q     And are you referring to something specifically with
      25 Q     Exhibit 56, page 10, paragraph 6 on that page: Information 25            regard to Neal Cohen or Darren Chaffee's interests, or



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      ANDREW W. STUMPFF                                                                                             February 09, 2017
      COHEN vs JAFFE                                                                                                           61-64
                                                                 Page 61                                                         Page 63
       1     their spouses' interests, in this case?                       1      ask Mr. Chaffee, for example,"Do you own any SSL
      2 A     No. No. I'm -- here's what I'm saying -- I'm saying          2      equity?" under one of the meanings of"common ownership"
      3      that when you're trying to analyze, or when you're            3      the answer is, no, Mr. Chaffee does not own any stock in
      4      asking someone -- well, strike that.                          4      SSL.
      5            When you're trying to answer for someone,               5             So, as a result, the question is sufficiently
      6      whether they are part of a controlled group, because of       6      vague in the sense that it can be interpreted reasonably
      7      the way the attribution rules work, you have to ask a         7      in a way that would allow a negative answer, without
      8      number of very precise questions, because it can turn         8      having eliminated the possibility that -- that the
      9      out that stock that you wouldn't have thought about,          9      regulation's attribution rules have been met, that one
      10     might be taken into account, for example, your family         10     would have to follow up.
      11     members,so you have to ask all these precise questions. 11                  There's no way to decide, on the basis of that
      12            In response to your question, in this case it          12     question, on whether you have a controlled group or not,
      13     turned out that none of that was relevant, except for         13     without having stated, precisely, what one means by the
      14     the indirect part. But the standard — the standard of         14     vague term "common ownership."
      15     care is that you have to ask all of those, because you        15 Q    Well, do you agree with me that as an ERISA lawyer, if
      16     don't know, in advance, that those are not going to turn      16     you're told that there is no common ownership between
      17     out to be relevant.                                           17     two clients that are acquiring an entity with a
      18 Q    Turning your attention to paragraph -- Exhibit 56,           18     multiemployer pension plan, you would not need to do any
      19     page 11, paragraph 1 on that page, what documents and         19     further analysis with regard to whether there was
      20     testimony are you referring to, specifically, when            20     controlled group liability?
      21     you're talking about the question asked by Jaffe, Raitt,      21 A So two — two things. So, first, you again just used
      22     and that Mr. Cohen answered in the negative?                  22     the word "common ownership." So everything I said in my
      23 A    I believe this is all from Mr. Weiss' deposition, but I      23     previous answer, its too vague. But you prefaced it by
      24     think its also something, to this effect, in some of          24     saying "as an ERISA lawyer."
      25     the other Jaffe lawyers' depositions.                         25            So if, by that, you meant if someone said to

                                                               Page 62                                                           Page 64
       1 Q    So you're not necessarily referring to the document,         1      me,"Assume that for purposes of ERISA, there is no
      2      you're just referring to the testimony by Mr. Weiss, or       2      common ownership," then the answer is yes.
      3      by the other Jaffe attorneys?                                 3             But if they just say "common ownership"
      4 A    Yeah. I guess in the same documents. I guess I had the        4      whether I'm an ERISA lawyer, or anyone else — the
      5      depositions in paper form, so...                              5      answer is no. I would require more analysis.
      6 Q     Okay. And is it actually a question that Mr. Cohen           6 Q     Have you formed any specific opinions with regard to
      7      answered, or is it a question that Mr. Chaffee answered?      7      Deb Baughman's services in this case?
      8 A    Oh, you're right. This is probably a mistake in my            8 A     No.
      9      report, because I think that Mr. Weiss' deposition is         9 Q     Are your opinions and criticisms, in this case, limited
      10     about a conversation with Mr. Chaffee, and not                10     then to how Mr. Weiss obtained the information as to
      11     Mr. Cohen.                                                    11     what ownership interests Darren Chaffee and Neal Cohen
      12 Q    Do you agree with me that if there is, indeed, no common 12         had?
      13     ownership of entities between Mr. Chaffee and Mr. Cohen, 13 A         Here's —
      14     that, then, there is no further analysis that needs to        14             MR, GOULDER: Object to the form.
      15     be done regarding controlled group liability for              15             Go ahead.
      16     brother-sister tests?                                         16            THE WITNESS: Here's how I've analyzed it.
      17 A    I can't agree with that for the reason that the term         17     I've looked at all of the communications from the firm
      18     "common ownership" is too vague and susceptible with          18     to the client, without regard to who was making the
      19     different meanings, one of which would allow — at least       19     communication, almost as though it were one person.
      20     one of which would allow the answer to be positive, and       20            So I'm not making any distinctions about any
      21     the others which -- others of which would allow it to be      21     individual lawyer at Jaffe. I'm saying that if you take
      22     negative.                                                     22     Jaffe as the lawyer here, and assume that these
      23 Q    Well, how so would it be negative?                           23     questions were asked as stated, and answered as stated,
      24 A    So ownership can have a number of different meanings,        24     that the conclusions I've drawn are what I've drawn.
      25     and one of the possible meanings of ownership -- if I         25             MR. HENGEVELD: Let's take a quick break.



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      ANDREW W. STUMPFF                                                                                                     February 09, 2017
      COHEN vs JAFFE                                                                                                                   65-68
                                                                     Page 65                                                                     Page 67
       1            (Whereupon a break was taken                               1 Q -- of care?
       2              from 9:46 a.m. to 9:55 a.m.)                             2 A       It's too vague.
       3 BY MR. HENGEVELD:                                                     3 Q The word "own" is vague, in your opinion?
      4 Q     Going back to Exhibit No. 56, page 11,                           4         It is.
       5     paragraph number 3 on that page. Do you see that                  5                  And again, I think especially, in this case,
      6      paragraph?                                                        6        where you have someone who has not necessarily ERISA
       7 A    Yes, I do.                                                       7        sophistication, but some business and transactional
       8 Q    In the last sentence of paragraph 3, you state:                  8        sophistication, and has focused, in the past, for
       9             That, however, raises the question of whether             9        example, on the fact that there are intervening
      10      it met the standard of practice in such a context simply         10       entities, and it's been important to him -- for whatever
      11      to have asked, of a client,"Do you have any common               11       reason -- in the past, that there is an intervening
      12      ownership of another entity?"                                    12       entity, such that he is able to answer the question,
      13              Do you see that?                                         13       "Do you own X?" in the negative, even though he owns an
      14 A     Yes, I do.                                                      14       intervening entity that owns X.
      15 Q     If a client is familiar with the attribution rules, and         15                 It's again -- when you ask a question -- as a
      16      their understanding of their ownership interests, and            16       lawyer, in this context, when you ask a question that's
      17      all the entities in which they have an interest, do you          17       capable of a truthful affirmative answer, that if
      18      agree that a lawyer asking whether -- or asking the              18       understood a certain way will not have given you the
      19      client to list all the entities in which he has an               19       information you need, then you have not met the standard
      20      ownership interest in common with another acquiror,              20       of care in helping that client figure out whether
      21      meets the standard of care?                                      21       they've got a controlled group.
      22 A     So the way you asked the question was, if -- if the             22 Q       In your opinion, what question should have been asked,
      23      client has an understanding of the attribution rules.            23       by the Jaffe attorneys, in evaluating the potential for
      24             And so I would answer your question, yes, with  24   controlled group liability in this case?
      25      the following amendment: If the client understands the 25 A Right. There's effectively two ways to have done it,

                                                                   Page 66                                                               Page 68
       1     attribution rules, and the lawyer knows that the client           1        and probably both are -- are the best way to do it.
       2     understands the attribution rules, then to — to get a             2                  One is to effectively summarize or recite the
       3     response saying,"Do you have any common ownership of              3        attribution rules, and say, taking into account any
      4      another entity?" where the lawyer knows that the client           4        direct or indirect ownership, as well as any other
      5      is understanding that, in the context of those                    5        attributed ownership, and here are the lists of
      6      attribution rules, that would meet the standard of care.          6        attributed ownership -- for example, family members --
       7 Q    What about a lawyer asking a simple question,"What               7        does it turn out that if you drew the ownership lines,
      8      businesses do you own in common with the other                    8        you would have an indirect, or direct, or attributed
      9      acquiror?"                                                        9        ownership interest in a company in which Mr. Cohen also
      10            Does that meet the standard of practice for                10        had a direct or indirect or attributed ownership?
      11     determining whether there is a basis upon which to                11                 The other way to do it, which is conceptually
      12     conclude that there might be potential controlled group           12       equivalent -- and again, I think, works better, given
      13     liability?                                                        13       the human brain -- is to ask for an organizational chart
      14 A    No. The words "in common" are fatally vague. They                14       that shows boxes for all the entities with lines showing
      15     permit an answer that would say, no, it does not provide          15       ownership interest.
      16     the lawyer the information they need.                             16                  But even there, you would have to note that
      17 Q    What about the question,"Do you own any businesses with 17                the organizational chart would have to be supplemented
      18     the other acquiror?"                                     18                to show any of these attributed ownership rules that I
      19 A Again --                                                            19        mentioned.
      20 Q Does that —                                                         20   Q     And you agree that that question could be asked orally?
      21 A      that's --                                                      21 A      Yes.
      22 Q    — meet the --                                                    22 Q       You indicated, in your answer, that that's the best way
      23 A —too --                                                             23       to do it. Do you believe that that's what the standard
      24 Q — standard                                                          24       of practice requires?
      25 A — vague.                                                            25         What I -- what I said, in my answer, was the best way



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     ANDREW W. STUMPFF                                                                                                 February 09, 2017
     COHEN vs JAFFE                                                                                                               69-72
                                                          Page 69                                                                       Page 71
      1      would have been to do it both ways. The standard of                1      previous page 11 -- the last sentence in paragraph 5
      2      practice would require that you do it at least one of              2      says:
      3      the other way.                                                     3              Under such circumstances a very thorough,
      4 Q     And what, specifically, are you referring to that                 4      direct set of questions and requests for detailed
      5      formulates your opinion that that is what the standard             5      ownership information was called for.
      6      of practice is?                                                    6              Do you see that?
      7 A     Because there's no other way to analyze control groups            7 A Yes, I do.
      8      properly and correctly. There's no other way to analyze            8 Q The direct set of questions and requests do not have to
      9      control group existence, correctly, other than with all            9      be in writing; correct?
      10     of the facts that are required to be taken into account            10 A    Correct.
      11     by the tests. There's no other way to get the necessary            11 Q     Exhibit 56, page 12, paragraph 7 on that page, you state
      12     information.                                                       12     that the attorney has to explain the existence and
      13 Q     Are you basing your opinion regarding the standard of            13     summarize the general outlines of the ownership
      14      practice, then, on your particular experience in                  14     attribution rules under the regulations; correct?
      15      practicing law --                                                 15 A Yes.
      16 A    Well —                                                            16 Q     Is that true even in the circumstances that the client
      17 Q -- or are you basing it on a statute, Model Rules of                 17     knows of the attribution rules?
      18     Professional Conduct, Michigan Rules of Professional               18 A    Not if — you stated the question if the client knows of
      19     Conduct, caselaw, or some other source?                            19     the attribution rules. That doesn't help at all.
      20 A    I'm basing this answer, I guess, in response to this              20             The client would need to know, exhaustively,
      21     question, on two things.                                           21     the content of the attribution rules, and you would have
      22            One, the logical requisite that you can't                   22     to know that. If you, the lawyer, know that the client
      23     answer the question of whether it's a controlled group,            23     has an exhaustive understanding of the content of the
      24     without having gotten all this information. So just                24     attribution rules, then, as we've said -- I think I've
      25     sheer logic, you have to have acquired certain                     25     already said -- then I wouldn't say that the standard of

                                                                      Page 70                                                             Page 72
       1     quantitative information to be able to answer this                 1      care requires that you repeat those to the client. But
      2      question under the statute.                                        2      knowing of them, doesn't help at all.
      3            I am also — although, I think that would be                  3 Q     In your opinion, would most certified public accountants
      4      the same answer, even if this was the first time I'd               4      know the attribution rules?
      5      ever seen this question, you'd just look at the question           5              MR. GOULDER: Object to form and foundation.
      6      and you'd say,"What do I need to answer it?"                       6              THE WITNESS: And I'll answer that, in my
      7            But its also based on all of the transactions                7      opinion, it would be an extremely rare CPA who would
      8      I've been involved in, and all the private equity                  8      know the attribution rules that apply for purposes of
      9      clients I've ever advised, all the investment companies            9      ERISA liability.
      10     I've ever advised, knowing that they tend to have these            10 BY MR. HENGEVELD:
      11     complicated networks, companies with ownership going in 11 Q                Well, those attribution rules we've already covered,
      12     different directions, that you have to be particularly             12     though, arise out of the tax code; correct?
      13     inclusive.                                                         13 A    So if you told a CPA you had to work on corporate tax
      14            So its all of those things, but, ultimately,                14     returns and controlled group returns, and you knew that
      15     its just a logical answer. You can't -- you cannot                 15     the CPA had to work on controlled group returns, and you
      16     answer this statutory question without having elicited             16     told the CPA,"For purposes of this ERISA-controlled
      17     all of this information.                                           17     group analysis, we have to apply all of the same
      18 Q    If the information elicited about ownership -- either             18     controlled group rules that you've had to apply for
      19     direct or indirect -- reflects that there is no direct             19      purposes of the controlled group returns you've worked
      20     or indirect common ownership between the two acquirors, 20                on," then I think you could probably be safe.
      21     would you agree with me that that would end the inquiry            21 Q     Let's be more simplistic on that. You would expect a
      22     regarding controlled group liability?                              22     CPA to understand the concept of pass-through entities;
      23 A    Yes, I would.                                                     23     correct?
      24 Q     Exhibit 56, page 12, the last sentence of paragraph 5 --         24 A    Pass-through entities has absolutely no relevance here.
      25     which was a continuation of the paragraph from the                 25     So the attribution rules would apply whether we were



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      ANDREW W. STUMPFF                                                                                             February 09, 2017
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                                                              Page 73                                                            Page 75
       1     talking about an LLC, or a C Corp., or a partnership.       1      definitively, but I don't remember ever creating an
       2           And, moreover, as I've said before, it turned         2      organizational chart for Neal.
       3     out not to matter here, but, actually, to have asked the    3 Q     Exhibit 56, page 12, paragraph 8, talks about subtleties
       4     question, you would have needed to apply all the other      4      implicit in the question about,"Do you have any other
       5     attribution rules, which are specific to these              5      common ownership?"
       6     attribution rules, like family members, and so forth.       6            Do you see that?
       7           So the pass-through rules apply not for               7 A    Yes, I do.
       8     purposes of defining a control group, even under the        8 Q     What specific subtleties are you referring to implicit
       9     tax code. The pass-through rules apply for purposes of      9      in that question?
      10     making the owner essentially reflect all of the             10 A    Most of what we've been talking about, and particularly
      11     tax income and expenses of the entity, itself.              11     the attribution rules, and the indirect ownership
      12            It has nothing to do, even on the tax side,          12     rules — well, strike the "and the indirect ownership
      13     with defining controlled group.                             13     rules."
      14 Q The concept is similar -- the concept — strike that.          14              It all really falls under the attribution
      15            The concept of a pass-through entity is the          15     rules.
      16     concept of attribution?                                     16 Q    Again, nothing beyond what we've --
      17 A    For one particular context. For other particular           17 A    Right.
      18     contexts it is an actual, effective legal barrier.          18 Q    — what you've already testified to --
      19            And my recollection of the depositions here is       19 A    Right.
      20     that Mr. Chaffee, at least, was aware — I'm not sure he 20 Q        — regarding the —
      21     was aware of the reasons -- but he was aware that there 21 A        Right.
      22     was an intermediate entity that had substance, and that     22 Q    -- attribution rules?
      23     that existence of the substantive intermediate entity       23 A    Right.
      24     had importance, completely, without regard to the           24 Q    On page 13 of your report, paragraph 2, it talks about
      25     pass-through of tax attributes.                             25     there being amendments or additions to the report that

                                                           Page 74                                                              Page 76
       1 Q    Going back to Exhibit 56, paragraph 6, on page 12, in      1      you may develop if there's new evidence, et cetera.
       2     there you state that Jaffe, Raitt should have asked                      Are all of the opinions, to which you
       3     specific follow-up questions necessary to confirm the              testified about today, the sum total and entirety of the
       4     existence of common ownership. Do you see that?                    opinions that you have formulated in this case?
       5 A    Paragraph 6? Oh, yes, I see it.                                         MR. GOULDER: Object to the form of the
       6            MR. GOULDER: Paragraph six.                          6      question. His opinions are set forth in the report —
       7           THE WITNESS: I see it, yes. I'm sorry.                7            THE WITNESS: Um --
       8            MR. HENGEVELD: That's okay.                          8            MR. GOULDER: -- and his testimony today.
       9 BY MR. HENGEVELD:                                               9            THE WITNESS: You know, I'll try to answer it,
      10 Q     What specific follow-up questions do you believe          10     but it's a really hard question, because you're asking
      11     Jaffe, Raitt should have asked that the lawyers in that     11     me all the opinions I might have -- like I've formed a
      12     firm did not ask?                                           12     number of opinions about this room since I've been here.
      13 A    Here's the main one:                                       13              I mean, you know, I --
      14            Here are the attribution rules. I'll list            14              MR. HENGEVELD: Let me rephrase the question.
      15     them, taking these into account you have common             15 BY MR. HENGEVELD:
      16     ownership.                                                  16 Q    Are there any other opinions that you have that relate
      17 Q     Do you agree that the advice that Jaffe, Raitt rendered   17     to this case, other than those set forth in Exhibit 56,
      18     to Darren Chaffee and Neal Cohen was based upon the 18             which is your report, or that you have testified about
      19     information that they -- Darren Chaffee and                 19     today?
      20      Neal Cohen -- gave to the Jaffe attorneys?                 20 A    None that are relevant to the scope of my engagement,
      21 A    I have to answer that question, yes.                       21     but it's such -- I'm sorry -- its just such an
      22 Q     Have you ever created an organizational chart for a       22     incredibly broad question,"Have I formed any opinions?"
      23     client with regard to the acquisition of an — of an         23              It's, like, opinions, like, there's lots of
      24     entity?                                                     24     people doing transactional work. I mean,there's just
      25 A    Well, its been a long time, so its hard to say,            25     so many opinions. You asked how many opinions have I



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      ANDREW W. STUMPFF                                                                                                      February 09, 2017
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                                                                       Page 77                                                                   Page 79
      1      formed about the case.                                              1        relevant or critical to your opinions?
      2              It's interesting that this investment bank                  2 A       I guess I list the most important as being the early
      3      exists in New York, and does business. There's lots of              3        e-mail, in April of 2013, but also Mr. Weiss' entire
      4      opinions I formed. If the -- but if the question is:                4        deposition, and Mr. Chaffee's entire deposition. Those
      5              Have I — is this the sum total of the                       5        three things are more important, probably, than anything
      6      opinions I have formed about whether this law firm met              6        else, for my conclusions.
      7      the standard of care, the answer is yes.                            7 Q       And, for the record, that e-mail was the Exhibit 7 that
      8              MR. HENGEVELD: Thank you.                                   8        we looked at --
      9              Give me a moment --                                         9 A      Yes.
      10             THE WITNESS: Okay.                                          10 Q      -- today?
      11             MR. HENGEVELD -- to look over my notes.                     11 A      Yeah.
      12             THE WITNESS: Sure.                                          12 Q      You indicated that you reviewed the report of
      13             (Momentarily off the record.)                               13       Jordan Schreier?
      14 BY MR. HENGEVELD:                                                       14 A      Yes.
      15 Q     Did you research any caselaw, or secondary sources, in 15 Q                  Do you have any disagreements with the content of what
      16     order to prepare your report, or provide your opinions              16       is in his report?
      17     in this case?                                                       17                MR. GOULDER: Object to the form. Overly
      18 A    Caselaw, or secondary sources, yes.                                18       broad.
      19 Q     What issues or topics —                                           19                THE WITNESS: Yes, I do.
      20 A     I think --                                                        20 BY MR. HENGEVELD:
      21 Q     — did you research caselaw, or secondary sources, in              21 Q       As you sit here today, is there anything specific that
      22     order to prepare your report?                                       22       stands out as being objectionable in his report?
      23 A     I think I cited them in here. So I cited -- just                  23                MR. GOULDER: And the record should show that
      24     flipping through my report -- I cited some secondary                24       the report is not in front of the witness. If you want
      25     sources on page 5, under B(1), and I cited a case on                25       a detailed answer, I think that would be the fair thing

                                                              Page 78                                                                            Page 80
      1      page 8, under Section D(2), and then on page 9, under                        to do.
      2      E(1), I cited some secondary sources.                               2               (Marked for identification:
      3              MR. GOULDER: Have you finished your answer?                 3                 Deposition Exhibit No. 57.)
      4             THE WITNESS: Yes.                                            4 BY MR. HENGEVELD:
      5              MR. GOULDER: 'Cause I was just going to say,                5 Q       I'm handing you what's been marked as Exhibit 57, which
      6      for completeness, you had mentioned some follow-up                           is the report of Jordan Schreier.
      7      analysis on the construction exemption.                                               Can you answer the question now —
      8             THE WITNESS: Well, what we talked about,                     8    A   Thank you.
      9      earlier, sure. In response to your question, earlier, I             9 Q       -- with that report?
      10     looked up, briefly, some of the caselaw that exists on              10 A      Sure. So I will -- so I disagree with the conclusion at
      11     the construction industry exemption.                                11       the top of page 8, that Jaffe, Raitt's standard
      12             And, I guess, I can't rule out — I mean, if                 12       satisfied the standard of care, et cetera.
      13     you're asking me what I've even looked at in the course             13                I guess I'll just highlight the conclusions
      14     of -- I mean, I found these things that I cited, and I              14       that I disagree with, rather than every specific
      15     don't -- I may have looked at some things, in the course            15       subsection. I disagree with the conclusion on page 10,
      16     of finding these things, that I didn't cite that I just             16       that Jaffe, Raitt did not represent SSL Assets.
      17     don't remember, but these are the topics that I was                 17                I disagree with the conclusion on page 11, in
      18     trying to support.                                                  18       E    I disagree with the conclusion on page 11, in E,
      19 BY MR. HENGEVELD:                                                       19       that an employer that is aware of the potential for
      20 Q    And the documents that you have reviewed In preparation 20                  multiemployer pension plan withdrawal liability can make
      21     for providing your opinions, in this case, do you                   21       changes to its controlled group, potentially mitigating
      22     consider any particular document, or documents, more                22       potential withdrawal liability.
      23     critical and relevant to the opinions than others?                  23                I disagree with that to the extent that it
      24 A    Yes.                                                               24       implies -- which I think it does -- that the employer
      25 Q    What documents are those that you consider to be more              25       can do that with any degree of intentionality, as



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      ANDREW W. STUMPFF                                                                                                  February 09, 2017
      COHEN vs JAFFE                                                                                                                81-84
                                                                       Page 81                                                       Page 83
      1        opposed to an accidental side effect.                             1 A The same. Actually, I should amend that. I think at
      2               I disagree -- I -- I have no opinion on the                2   least one or two years, the one at Alabama has been
      3        premature conclusion on page 12 in F. That's not within           3   titled "Deferred Compensation," but the content was the
      4        the scope of my opinions.                                         4      same.
      5 Q       Do you know how many hours you spent preparing for your          5             MR. HENGEVELD: All right. I don't have any
      6        deposition today?                                                 6      further questions. Thank you.
      7 A       I will guess eight.                                              7            THE WITNESS: Thank you.
      8 Q       Are any of the publications that you have authored,              8             MR. GOULDER: The only thing I'll        just to
      9        during the last 10 years, related to controlled group             9      put on the record is we had exchanged e-mails, Jeff, as
      10       liability?                                                        10      you recall, about whether Jaffee is obligated to
      11 A      It's discussed in two of the case books.                         11     compensate, you know, Mr. Stumpff, not only for his time
      12 Q       Which are those?                                                12      here, but his time preparing.
      13 A      Employee Benefits and Executive Compensation that came 13                       It is our view that the requirement is that
      14       out in 2011. And then the one I'm a coauthor with                 14     they pay for the preparation time as well. We will
      15       Langbein and Pratt, which came out in 2015.                       15     submit a bill for both. You'll pay what you're going to
      16              And then let me just review the rest of the                16      pay, and if it's less than the full amount, we'll take
      17       list to see if any of the others —                                17      it up with the judge at the appropriate time.
      18              (Witness reviewing document.)                              18             MR. HENGEVELD: And, for the record, yes, we
      19              And I don't think any of the others were.                  19      did indicate that we would pay for the time for today's
      20 Q       Have the courses that you have taught at the                    20      deposition, sitting in the deposition, and we are
      21        University of Michigan, or the University of Alabama,            21      contesting that it is our obligation, under the federal
      22       involved ERISA topics, and, in particular, pension                22      court rules, to provide compensation for his prep time.
      23       withdrawal liability, or controlled group liability?              23             THE WITNESS: So can I -- is this a good time
      24 A      All of the above, and, in particular, I typically issue          24      to raise the rate?
      25       a fairly detailed exercise on the brother-sister group.           25             MR. GOULDER: Oh, go ahead.

                                                                Page 82                                                                 Page 84
       1   Q  You've described yourself as a lecturer at the                      1           THE WITNESS: So you handed me this exhibit,
      2      University of Michigan --                                           2    and I just realized that I -- I, or someone, has made a
      3    A Right.                                                              3    mistake. So this --
      4    Q — law school?                                                       4            MR. GOULDER: "This exhibit" being which?
      5    A That's a title at U of M.                                           5            THE WITNESS: The engagement letter. So it
      6    Q How does that relate to a professor, or an associate                6    recites a fee of $450 an hour, and I said, in my report,
      7      professor, or assistant professor?                                  7    that it's $400 an hour, and I don't know which is
      8    A It's far below them. So its -- my understanding is                  8    mistaken. One of them is mistaken, but I just don't
      9      they have, you know, a whole hierarchy of professors,               9    know --
      10      low professors, associate professors, et cetera.                   10            MR. HENGEVELD: All right.
      11             They have something they call an adjunct                    11            THE WITNESS: -- as I sit here.
      12      professor, and I'm not sure what -- I honestly don't               12            I can find out.
      13      know what the requisites are to be called an adjunct               13            MR. GOULDER: The bills would show.
      14      professor.                                                         14            THE WITNESS: That's true. The bills will
      15             And then they have a title called "lecturer,"               15    show it.
      16      and I think that's the function of their collective                16            MR. HENGEVELD: To be clear on the record,
      17      bargaining agreements.                                             17    then, the invoice that I have, for September 2016,
      18   Q Are the courses that you provided at the University of              18    reflects a $400-an-hour rate.
      19      Michigan for credit?                                               19            THE WITNESS: That's what I thought.
      20   A Yes.                                                                20            MR. HENGEVELD: Is that the correct rate?
      21   Q What was the title of that class, or classes, that                  21            THE WITNESS: That's the correct rate.
      22      you                                                                22            MR. HENGEVELD: Thank you.
      23   A Employee Benefits and Executive Compensation.                       23            MR. GOULDER: Okay. We're finished.
      24   Q And what about the title of the classes at the                      24            MR. HENGEVELD: I have no further questions.
      25      University of Alabama?                                             25            MR. GOULDER: We'll read and sign the



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      ANDREW W. STUMPFF                                                                                            February 09, 2017
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       1 transcript.                                        1                                      DEPOSITION ERRATA SHEET

      2       (The deposition was concluded at 10:28 a.m.)
      3              (Signature reserved.)
      4                                                     4                 Our Assignment No. J0510055

      5                                                     5                 Case Caption: Cohen        v   Jaffee, et al.

      6                   ...                               6

      7                                                     7

      8                                                     8                              DECLARATION UNDER PENALTY OF PERJURY

      9                                                     9

      10                                                   10                 I declare under penalty of perjury that I have read the

      11                                                                 11   entire transcript of my deposition taken in the captioned

      12                                                                 12   matter or the same has been read to me, and the same is true

      13                                                                 13   and accurate, save and except for changes and/or corrections,

      14                                                                 14   if any, as indicated by me on the DEPOSITION ERRATA SHEET

      15                                                                 15   hereof, with the understanding that I offer these changes as

      16                                                                 16   if still under oath.

      17                                                                 17

      18                                                                 18   Signed on the          day of                    , 2017

      19                                                                 19

      20                                                                 20

      21                                                                 21                Andrew W. Stumpff

      22                                                                 22

      23                                                                 23

      24                                                                 24

      25                                                                 25


                                                               Page 86                                                                  Page 88
       1   STATE OF MICHIGAN )                                            1                       DEPOSITION ERRATA SHEET
                              I SS                                        2
       2   COUNTY OF MACOMB   )                                           3   Page No.        Line No.         Change to:
       3                 CERTIFICATE OF NOTARY PUBLIC                     4
       4              I, Kelli A. Murphy, a Notary Public in and          5   Reason for change:
       5   for the above county and state, do hereby certify that         6   Page No.        Line No.         Change to:
       6   this transcript is a complete, true, and correct record        7
       7   of the testimony of the witness held in this case.
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       8             I also certify that prior to taking this
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                                                                         10
      10   tell the truth.
                                                                         11   Reason for change:
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      12   an employee of or an attorney for a party; and that I am      13
      13   not financially interested, directly or indirectly, in
                                                                         14   Reason for change:
      14   the matter.
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      15              In witness whereof, I hereby set my
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      16   hand this day, Friday, February 17, 2017.
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      21              Kelli A. Murphy, CSR-7768                          21

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      24              My Commission expires:       January 7, 2018       24                      Andrew N. Stumpff

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